       Case 1:25-cv-11990-BEM           Document 42        Filed 07/21/25   Page 1 of 3




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


 ALLIED WASTE NORTH AMERICA, LLC                   )
 AND 623 LANDFILL, INC.,                           )
                                                   )
 PLAINTIFFS,                                       )
                                                   )
        v.                                                  CIVIL ACTION NO. 1:25-cv-11990-BEM
                                                   )
                                                   )
 INTERNATIONAL BROTHERHOOD OF                      )
 TEAMSTERS, LOCAL 25, THOMAS G.                    )
 MARI, INDIVIDUALLY AND AS                         )
 PRESIDENT, STEVEN J. SOUTH, AS                    )
 SECRETARY-TREASURER, JOAN C.                      )
 COREY, AS VICE PRESIDENT/ BUSINESS                )
 AGENT, PETER S. BERRY, AS                         )
 RECORDING SECRETARY, MILTON                       )
 DEPINA, INDIVIDUALLY AND AS UNION                 )
 REPRESENTATIVE, NICO CATANO,                      )
 INDIVIDUALLY AND AS UNION                         )
 TRUSTEE, ERIC LOGAN, INDIVIDUALLY                 )
 AND AS UNION REPRESENTATIVE,                      )
 DAVID SMITH, INDIVIDUALLY AND AS                  )
 UNION REPRESENTATIVE, BRIAN J.                    )
 HATCH, INDIVIDUALLY AND AS                        )
 BUSINESS AGENT,                                   )
                                                   )
 And
                                                   )
                                                   )
 JOHN DOES 1-100; and all others conspiring,
                                                   )
 acting in concert, or otherwise participating
                                                   )
 with them or acting in their aid or behalf,
                                                   )
                                                   )
                DEFENDANTS.
                                                   )


            SUPPLEMENTAL AFFIDAVIT OF JILLIAN FOLGER-HARTWELL

       I, Jillian Folger-Hartwell, hereby declare and state as follows:

       1.     I am an attorney with the law firm of Littler Mendelson, P.C. I am one of the

attorneys representing Plaintiffs Allied Waste North America LLC and 623 Landfill, Inc.

(collectively “Republic”) in the above-captioned case.
         Case 1:25-cv-11990-BEM          Document 42         Filed 07/21/25     Page 2 of 3




         2.     I have personal knowledge of the facts stated in this declaration, and could and

would competently testify to them if called upon to do so.

         3.     I have served personal and proper notice of this lawsuit and the hearing scheduled

for 2:15 p.m. on July 21, 2025, via email and hand-delivery on Chiefs of Police for the following

towns:
                        Boston Police Department
                        Canton Police Department
                        Holbrook Police Department
                        Peabody Police Department
                        Quincy Police Department
                        Revere Police Department
                        Quincy Police Department

         Signed under the penalties of perjury this 21st day of July, 2025.


                                               /s/ Jillian S. Folger-Hartwell
                                               Jillian S. Folger-Hartwell




                                             Page 2 of 3
       Case 1:25-cv-11990-BEM            Document 42        Filed 07/21/25     Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of July, 2025, a true copy of the foregoing document

was filed electronically through the Court’s CM/ECF system, is available for viewing and

downloading from the ECF system, will be sent electronically to counsel of record as registered

participants identified on the Notice of Electronic Filing and via first class mail to all non-

registered participants identified on the Notice of Electronic Filing.


                                                      /s/ Jillian S. Folger-Hartwell
                                                      Jillian S. Folger-Hartwell




                                            Page 3 of 3
